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                    EXHIBIT A
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                                                                                      United States District Court
                                                                                 For The Southern District of New York

                                                                                           Giuffre v. Maxwell
                                                                                           15-cv-07433-RWS
                                                                     Ghislaine Maxwell’s Privilege Log Amended as of August 1, 2016

***Per Local Rule 26.2, the following privileges are asserted pursuant to British law, Colorado law and NY law.

 Log ID         DATE            DOC.         BATES             FROM                                 TO                CC       RELATIONSHIP             SUBJECT              PRIVILEGE
                                TYPE            #                                                                                OF PARTIES             MATTER
   1.      2011.03.15        E-Mails         1000-     Ghislaine Maxwell        Brett Jaffe, Esq.                             Attorney / Client    Communication      Attorney-Client
                                             1013                                                                                                  re: legal advice
   2.      2011.03.15        E-Mails         1014-     Brett Jaffe, Esq.        Ghislaine Maxwell                             Attorney / Client    Communication      Attorney-Client
                                             1019                                                                                                  re: legal advice
   3.      2015.01.02        E-Mails         1020-     Ross Gow                 Ghislaine Maxwell                             Attorney Agent /     Communication      Attorney-Client
                                             1026                                                                             Client               re: legal advice
   4.      2015.01.02        E-Mail          1024-     Ghislaine Maxwell        Ross Gow                                      Attorney Agent /     Communication      Attorney-Client
                                             1026                                                                             Client               re: legal advice
   5.      2015.01.02        E-Mail          1027-     Ross Gow                 Ghislaine Maxwell                  Brian      Attorney Agent /     Communication      Attorney-Client
                                             1028                                                                  Basham     Client               re: legal advice
   6.      2015.01.06        E-Mail          1029      Ghislaine Maxwell        Jeffrey Epstein                               Common Interest      Communication      Common Interest
                                                                                                                                                   re: legal advice
   7.      2015.01.06        E-Mail          1030-     Ghislaine Maxwell        Jeffrey Epstein,                              Attorney / Client    Communication      Common Interest
                                             1043                               Alan Dershowitz, Esq.                                              re: legal advice
   8.      2015.01.10        E-Mail          1044      Ghislaine Maxwell        Philip Barden, Esq.,                          Attorney / Client    Communication      Attorney-Client
                                                                                Ross Gow                                                           re: legal advice
   9.      2015.01.10        E-Mail          1045-     Ghislaine Maxwell        Philip Barden, Esq.                           Client / Attorney    Communication      Attorney-Client
                                             1051                                                                                                  re: legal advice
   10.     2015.01.09 -      E-Mails         1052-     Ross Gow                 Philip Barden, Esq.                G.         Agent / Attorney /   Communication      Attorney-Client
           2015.01.10                        1055                                                                  Maxwell    Client               re: legal advice
   11.     2015.01.11        E-Mail          1055-     Ghislaine Maxwell        Jeffrey Epstein                               Common Interest      Communication      Common Interest
                                             1058                                                                                                  re: legal advice
   12.     2015.01.11        E-Mail          1055-     Philip Barden, Esq.      Ross Gow                           G.         Attorney / Agent /   Communication      Attorney-Client
                                             1058                                                                  Maxwell    Client               re: legal advice
   13.     2015.01.11        E-Mail          1056-     Philip Barden, Esq.      Ghislaine Maxwell                  Ross       Attorney / Agent /   Communication      Attorney-Client
                                             1058                                                                  Gow        Client               re: legal advice




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14.   2015.01.11 -   E-Mails      1059-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication         Common Interest Privilege
      2015.01.17                  1083                                                                                              re: legal advice
15.   2015.01.13     E-Mail       1067-     Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication         Common Interest Privilege
                                  1073                                                                                              re: legal advice
16.   2015.01.13     E-Mail       1069-     Philip Barden, Esq.    Martin Weinberg, Esq.                    Common Interest         Communication         Common Interest Privilege
                                  1073,                                                                                             re: legal advice

                                  1076-
                                  1079
17.   2015.01.13     E-Mails      1068-     Philip Barden, Esq.    Ghislaine Maxwell                Mark    Attorney / Client       Communication         Attorney-Client
                                  1069,                                                             Cohen                           re: legal advice

                                  1074-
                                  1076
18.   2015.01.21     E-Mail       1088-     Ross Gow               Philip Barden, Esq., Ghislaine           Agent / Attorney /      Communication         Attorney-Client
                                  1090                             Maxwell                                  Client                  re: legal advice
19.   2015.01.21 -   E-Mails      1084-     Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Communication         Common Interest Privilege
      2015.01.27                  1098                                                                                              re: legal advice
20.   2015.01.21-    E-Mails      1099      Ghislaine Maxwell      Jeffrey Epstein                          Common Interest         Communication         Common Interest Privilege
      2015.01.27                                                                                                                    re: legal advice
21.   2015.04.22     E-mail       7 pages   Jeffrey Epstein        Ghislaine Maxwell                        Common Interest         Forwarding            Common Interest Privilege
                                                                                                                                    message from
                                                                                                                                    Martin Weinberg,
                                                                                                                                    labeled “Attorney-
                                                                                                                                    Client Privilege”
                                                                                                                                    with attachment
22.   Various        E-mails                Agent of Haddon,       Agent of Haddon, Morgan &                Agent of attorney and   Attorney work         Attorney Work Product
                                            Morgan & Foreman;      Foreman; Laura Menninger                 Attorney                product
                                            Laura Menninger
23.   Various        E-mails                Mary Borja; Laura      Mary Borja; Laura Menninger              Attorney Work           Attorney work         Attorney Work Product
                                            Menninger                                                       Product                 product
24.   2015.10.21 -   E-mail                 Darren Indyke; Laura   Darren Indyke; Laura Menninger           Attorneys for parties   Common Interest       Attorney Work Product;
      2015.10.22     chain with             Menninger                                                       to Common Interest      Agreement             Common Interest Privilege
                     attachment                                                                             Agreement
25.   2015.01.06                                                                                            Attorney/Client         Document              Attorney Work Product;
                                                                                                                                    prepared by           Attorney-Client
                                                                                                                                    Ghislaine             Communication
                                                                                                                                    Maxwell at the
                                                                                                                                    direction of Philip
                                                                                                                                    Barden

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26.   2015.01.23                                                       Attorney/Client   Document              Attorney Work Product;
                                                                                         prepared by           Attorney-Client
                                                                                         Ghislaine             Communication
                                                                                         Maxwell at the
                                                                                         direction of Philip
                                                                                         Barden




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